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                EXHIBIT O
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                                                                                                                                 LARSON

                                                                                             Sonya Larson <!arsonya@gmail.com>
M Gmaii
Audible Covers for Review: Sonya Larson
                                                                                                          Wed, Jul 20, 2016 at 10:23 AM
Sonya Larson <larsonya@gmai!.com>
To: "Jennifer 8. Lee" <jenny@plympton.com>
Cc: Chaz Curet <chaz@p!ympton.com>

  Jenny!
                                                                                                                    But I
 Ah, I'm glad that Chaz is enjoying himself in Brazil. And l totally understand that it’s a huge pain to re-record.
                                that they could have the audio  rights too, if that would help the request be more  do-able. I've
 definitely have another story
 attached the story here; it's placed in a few contests, but hasn't been published yet.
                                                                                                                    we'll be able to
 Also, good news: "Gabe Dove" just won 2nd place in a contest and will be published by Salamander. So
 market the audiobook from the print angle too!

  Cheers,
  Sonya

  On Tue, Jul 19, 2016 at 4:57 PM, Jennifer 8. Lee <jenny@plympton.com> wrote:
  I Hi Sonya,
  !
    (Chaz is on a well deserved vacation to Brazil, so I’m jumping in).

       End of this week would be great on the covers. Thank you.
                                                                                                                 recorded). It's
  ; It would be hard to get Audible to rerecord,(because of all the postproduction that goes into it after it is
                                                                                                  voice.  The    recording is
 _j noyust part of that would have to be rerecorded, but likely everything, in order to match the
   | more than they pay for the rights. ' ’          ~     .. .       ~           .. . . .            -       -              .
  j But I could ask them anyway.
  !
                                                                                                                    to pay
    I could see *maybe* negotiating with them by offering another story of yours into the mix that they didn't have
  i additional rights for (to balance the cost of rerecording). I'm not sure if the money comes from the same budget so if it's
    fungible like that. But at least it's something to offer them.

       Let me know,

       Jenny

       On Friday, July 15, 2016, Sonya Larson <larsonya@gmail.com> wrote:
        ’ Hello, Chaz!
        i
                                                                                                                  as we speak.
        j Ah, thank you for checking in, and incidentally my designer and I are going back and forth with options
          I'm thinking we'll have them wrapped up by the end of next week- does that timing work for  you?

                                                                                                        friend,              I would
   t j Though I must say, Juan's designs are GORGEOUS. Man, if I hadn't already started working with my
     j love to work with him!
                                                                                                                         character to
        ■ I do have one major question, however: one of my stories ("The Kindest") contains a letter sent from one
        1                                                                                letter. I'm now realizing  that  for ethical
        j another, which includes a couple sentences that I'd excerpted from a real-life
                                                                  would  very much  like  to revise  them. I know  that  the  story
        ! reasons I am uncomfortable keeping those lines in, and
                                                  any way that those few  lines might  be  re-recorded  with  the new  lines?
        \ has already been recorded, but is there
   s                                                                                                            a change is
   : j I understand that this may be a HUGE pain. But I feel quite strongly about this, and want to see if such
   | j possible.

   i     Cheers
   i     Sonya

         On Thu, Jul 14, 2016 at 11:59 AM, Chaz Curet <chaz@plympton.com> wrote:                                                   P82
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                5
        i
                        Hi Sonya;

        i   Checking in to see if there are any updates on your covers. The Audible project has launched, so we're trying to
        ; ; get as many titles out, as soon as possible. When do you expect your designer friend will have the covers to us?
\
                I If your designer won't be able to turn around soon, we also wanted to offer another designer, Juan, you might want
i                 to try working with. He's done quite a few covers for us, and the authors have without exception loved working with
                  him. Here is a link to his portfolio, so you can see whether his style will jive with your story concepts.
i               ]
                i Thanks,
                        Chaz
t

                  On Thu, Jun 2, 2016 at 3:25 PM, Sonya Larson <larsonya@gmail.com> wrote:
                s j Thank you!!
                i


i               |            On Thu, Jun 2, 2016 at 3:25 PM, Jennifer 8. Lee <jenny@plympton.com> wrote:
        i
                               Here you go!

        j                         https://www.dropbox.com/sh/fimb8n36lulhjib/AABfhiGn_m-J8IH18K4YrWxpa?dl=0
i
        !
                                  On Thursday, June 2, 2016, Sonya Larson <tarsonya@gmai!.com> wrote:
        ;                          :
                                     Ah, sounds good. I'll opt for the 2nd batch then! We'll get you the covers in July.
j
        !
t
                                    And I'm looking for the mockup covers of my own stories, which aren't in this folder- do you still have them?

■:                                  On Thu, Jun 2, 2016 at 3:21 PM, Jennifer 8. Lee <jenny@plympton.com> wrote:
!                                   I Here's a current link
                                     S

                                     | https://www.dropbox.com/sh/rd0n1 mz6gcj905x/AABxwtQix6l2XvGBGFChu2wAa?di=0

                                         Those covers will move soon too. So let us know if your friend gets there too late.
                        i
        i
        f
                                         On Thursday, June 2, 2016, Sonya Larson <larsonya@gmail.com> wrote:
!                                        j One more question: the dropbox of covers now seems to be empty. Could ! get my hands on those
                                         j cover designs, to show my designer?
                                         )
                                           On Thu, Jun 2, 2016 at 3:13 PM, Sonya Larson <larsonya@gmai!.com> wrote:
                                            | Hi Jenny!

                                                    Good to know. Can you tell me about when the stories would go up? And what exactly do you mean
                                         5


i
                                         5          by the "second half of the Audible 100?
        i
        ?                                           Thank you!
                                                    Sonya

    t
                                                    On Thu, Jun 2, 2016 at 3:07 PM, Jennifer 8. Lee <jenny@plympton.com> wrote:
        ;                I                            Hi Sonya,
                         !   {
                                         !
        i       I                                     It would mean your stories will move from first half of Audible 100 to second half. And it would go
    I           i
                                          !!          up later even though recordings are done. But that should be fine if you are fine with it.
                    i
        {                                             Thanks!
                i
                                                      Jenny


I                                                     On Thursday, June 2, 2016, Sonya Larson <larsonya@gmail.com> wrote:
    i                                                  Ah, thank you so much for accommodating my ideas, Chaz. I really appreciate it, and we'll get to
            i                                          workl
    !
                                     i          i       One question: when would these covers be due? My cover designer is busy right now, it seems,
            i
                         i
                                                        but could deliver about 4 weeks from now. Would this work?? I hope so!
            l
                                                        Cheers,                                                                                         P83
            j i               !
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                  !             ;             Sonya
                                t
          1                     i             On Wed, Jun 1, 2016 at 5:53 PM, Chaz Curet <chaz@p!ympton.com> wrote:
     !
                                S
                                !               Hi Sonya,

     !                                            Thank you for letting us know, and I'm sorry to hear you weren't satisfied with how your covers
                                                  turned out.
     s                                        {
!i                                                Not controlling or obnoxious at all! We want you to be happy with your covers and proud of
!
              i                                   how the stories are presented. If your friend is able to draw drafts up for submission, that
                                                  works just fine for us.

     i                                            I've looped Jenny into this email. She’s created a document (https://docs.google.com/
1
     !                                            document/d/1jJ7cS6CynXHYInswtlF„hR2JyqM„2NoziXf7ViHiCpU/edit) that lists the specs
■
                  j                               we're looking for, for you to pass along to your friend. If there are any questions about these
                                                  requirements, feel free to reach out to me or Jenny.
!
     i                               i            Also, when your friend forwards us the covers, we ask that she please include the following
i
I                               s !               permission line: "As the designer, I give permission for these covers to be used in conjunction
                                                  with Sonya Larson’s work."
                                5
     i        !
                                                  Thanks again, and I hope you have a great rest of your week.

              !                 i
                                !                 Sincerely,
i                                                 Chaz

                                                  On Wed, Jun 1, 2016 at 3:57 PM, Sonya Larson <larsonya@gmail.com> wrote:
!         i                                        ' Dear Chaz,
                                                   *
     i                I         j
                                t
                                                     Thank you so much for this note, and I'm so excited that this process is moving forward!

                                                   | I must say, however, that I'm not happy with these covers-- it doesn't seem like a ton of
                                                   i thought went into mine,
                                                                             and they don't strike me as very visually appealing. Particularly for
*    s
                          - -                      j "The Kindest"- the background image of a pen seems quite generic and not related to the
                                !
              1             r                      j story at all.

                                                       I don't wish to sound obnoxious or controlling, but would you be at all amenable to having
     >i                                                me submit cover drafts myself? I have a good friend who's a cover designer, and she could
                                                       draw up some really quality stuff very quickly.

                                                       Let me know what you think!
[                               i

     J                                                 OnTue, May 31,2016 at 4:37 PM, Chaz Curet <chaz@plympton.com> wrote:
i                                        ;i
                                                        Hi Sonya,
                                ;
                                                         We’re pushing along with the Audible production, and our designers have sent us
r    !
                      j
                                                         satisfactory drafts for the first batch of covers. Please have a look at yours, in this folder:
                      !         ;        s               https://www.dropbox.com/sh/u96ea8x7rxatd2t/AABWKZEFeH3f5sFaD4rtRcY7a7dNQ
                                i

     5
                                                         We’re creating 100 covers at once, so it's a lot of juggling, but we’re making progress! The
     t
     I
                                                         cover is the last piece before the stories are made available on Audible, so if they
     :    H   i                          i               generally look good to you, we can ship them off.
          I
                                         s
                                                         We gave your inspiration to the artists, but let us know if there is something erroneous in
                                                   r     the cover concept that misrepresents the story in some way (hopefully nothing as
          f j         s                  I
i                                                        egregious as a blond Anne of Green Gables').
i                                        s
                                                   I
                      i                  s
                                         i
                                                   i
                                                         Small tweaks are okay as well, if we give them to the designers in a way that they do not
              !                          i
                                                         find overwhelming. Looking forward to hearing from you!
                                ?        I
                      J
 i                                                 j j Thanks,
                                                   j i Chaz
     i

          j   ;                                                                                                                                       P84
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                    !       !
                                      1



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    ;
i                                  Jennifer 8, Lee
                                   Co-founder, Plympton
                                   e: jenny@plympton.com
i                                  c: 917.586.0588
                        i
                                   t: @jenny8iee

    *                   i
                            !
                        i

    ;           :

                    j | Jennifer 8. Lee
                    i
                      | Co-founder, Plympton
                    ! ! e: jenny@piympton.com
i
                      ! c: 917.586.0588
                      ! t: @jenny8lee
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        -           t: @jenny8iee

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